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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

ROBERT TIMOTHY HARLEY,

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Case No. 1:18-cv-396
WILLIAM BARR,
Attorney General of the United States
Defendant.

MEMORANDUM OPINION

Nearly thirty years ago plaintiff was involved in a domestic incident with his ex-
wife and was convicted of misdemeanor assault and battery of a family member, in
violation of Va. Code § 18.2-57.2. Under federal law, specifically 18 U.S.C. § 922(g)(9),
plaintiffs 1993 misdemeanor domestic assault conviction makes it illegal for him to
possess a firearrn. Plaintiff, who, as the record reflects, has obeyed the law without incident
since 1993, and Who, as the record also reflects, has a long history of public service, now
challenges the constitutionality of § 922(g)(9) as applied to him. Simply put, plaintiff
argues that one misdemeanor conviction nearly thirty years ago should not preclude him
from possessing a firearm for the rest of his life. He believes that under his specific
circumstances, § 922(g)(9) unconstitutionally violates his Second Amendment right to
keep and bear arms. Thus, he seeks summary judgment in his favor, a decision that would

allow him to possess firearms legally again.

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For its part, the government has moved for summary judgment, noting that each
federal court of appeals to consider arguments like plaintiffs has rejected as-applied
challenges to § 922(g)(9). In other words, according to the govemment, § 922(g)(9) has
no good behavior exception or expiration provision and is not rendered unconstitutional
simply because a former perpetrator of a domestic violence misdemeanor behaves himself
for any particular period of time.

For the reasons that follow, the government’s motion for summary judgment must
be granted and plaintiffs motion must be denied.
I.
The essential and material facts of this case are undisputed. They are as follows:

o In July of 1993, plaintiff was convicted in Fairfax County Juvenile and Domestic
Relations Court of committing misdemeanor assault under Va. Code §18.2-57.2
following the entry of a guilty plea.

0 This conviction arose after plaintiff called the Fairfax County Police Department
and reported to the police that he and his then-estranged wife, Angela, had argued
and gotten into a physical altercation.

0 Plaintiff has not committed any other crimes since 1993.

o Plaintiff worked thirty (30) years for Fairfax County Public Works and was
recognized for his contributions to the public upon his retirement

0 Plaintiff also served as a volunteer fireman/EMT for many years and was highly
decorated for this service.

Because there is “no genuine dispute as to [these] material fact[s]” and because both parties
have filed motions for summary judgment, at least one party “is entitled to judgment as a

matter of law.” Celotex v. Catrett, 477 U.S. 317, 322 (1986).

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II.

The operative statutory subsection in this case, § 922(g)(9),‘ was added to the statute
in 1997 after Congress recognized that existing felon-in possession laws “were not keeping
firearms out of the hands of domestic abusers, because ‘many people Who engage in serious
spousal or child abuse ultimately are not charged with or convicted of felonies.”’ Um'tea'
States v. Hayes, 555 U.S. 415, 426 (2009) (quoting 142 Cong. Rec. 22,985 (1996)
(statement of Sen. Lautenberg)). Section 922(g)(9) attempts to close this “‘dangerous
loophole,”’ by extending the federal firearm prohibition to persons convicted of
“‘misdemeanor crime[s] of domestic violence.”’ Id. (quoting 142 Cong. Rec. at 22,986
(statement of Sen. Lautenberg)) (alteration in original).

Plaintiff, having been convicted of misdemeanor family assault, plainly falls within
the group of individuals Congress intended to preclude from possessing firearms. And
because the facial validity of § 922(g)(9) has not been challenged here, nor has it been

successfully challenged elsewhere,2 the only issue presented in this case is whether §

922(g)(9) is unconstitutional as applied to plaintiff.

 

' 18 U.S.C. § 922(g)(9) provides that “[i]t shall be unlawful for any person . . . who has been convicted in
any court of a misdemeanor crime of domestic violence to ship or transport in interstate or foreign
commerce, or possess in or affecting commerce, any firearm or ammunition. . . .”

2 See, e.g., Um‘ted States v. Booker, 644 F.3d 12, 24 (lst Cir. 2011) (“[Section] 922(g)(9) fits comfortably
among the categories of regulations that Heller suggested would be presumptively lawful.”) (internal marks
and citation omitted); United States v. Donovan, 410 F. App’x 979, 981 (7th Cir. 2011) (“[W]e [have]
upheld the categorical disarmament of` domestic-violence misdemeanants such as Donovan.”); United
States v. Skoien, 614 F.3d 63 8, 645 (7th Cir. 2010) (“[A] disqualification-on-conviction statute such as §
922(g)(9) [] is generally proper.”); United States v. Smith, 742 F. Supp. 2d 855, 869 (S.D.W. Va. 2010).

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As the Third Circuit has noted, an as-applied challenge differs from a facial
challenge because it “does not contend that a law is unconstitutional as written but that its
application to a particular person under particular circumstances deprived that person of a
constitutional righ .” Um‘ted States v. Mitchell, 652 F.3d 387, 405 (3d Cir. 2011). As-
applied challenges to the constitutionality of statutes are not uncommon and therefore it is
not surprising that the Fourth Circuit has considered “the proper framework for deciding
as-applied Second Amendment challenges.” United States v. Staten, 666 F.3d 154, 158-
59 (4th Cir. 2011) (discussing the two-step analysis for considering as-applied
constitutional challenges and rejecting Staten’s as-applied constitutional challenge to 18
U.S.C. § 922(g)(9)); see also United States v. Chester, 628 F.3d 673, 680 (4th Cir. 2010)
(adopting the two-step analysis for an as-applied challenge to 18 U.S.C. § 922(g)(9)) (citing
Unz°tea' States v. Marzzarella, 614 F.3d 85, 89 (3d Cir. 2010)). Distilled to its essence, the
Fourth Circuit’s analytical framework for considering as-applied challenges to a statute
under the Second Amendment asks first whether the statute infringes a fundamental
constitutional right and second whether the statute prohibits conduct that fits reasonably
within the government’s stated interest or need.3 Id.

A.
The first step in the two-part analysis announced by Chester and Staten requires the

district court to ask, “whether the challenged law imposes a burden on conduct falling

 

3 The Fourth Circuit’s two-step approach has been followed by the majority of other circuits that have
considered as-applied challenges to statutes under the Second Amendment. See, e.g., Stz'mmel v. Sessions,
879 F.3d 198, 210 (6th Cir. 2018); Fisher v. Kealoha, 855 F.3d 1067, 1070 (9th Cir. 2017); United States
v. Skoien, 614 F.3d 638, 645 (7th Cir. 2010).

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within the scope of the Second Amendment’s guarantee.” Chester, 628 F.3d at 680. This
is a “historical inquiry” that “seeks to determine whether the conduct at issue was
understood to be within the scope of the right at the time ofratification.” Ia'. Analysis ends
if the challenged law imposes a burden on conduct that falls outside the Second
Amendment’s protection as understood at the time of ratification; but the analysis proceeds
if the challenged law prohibits conduct that would have been protected by the Second
Amendment in 1791.4 Id.

Most courts considering as-applied challenges to § 922(g)(9) have assumed,
arguendo, that § 922(g)(9) prohibits conduct that would have been protected by the Second
Amendment at the time of ratification5 and therefore that domestic violence misdemeanants
have intact Second Amendment rights that require “some measure of protection.” Staten,
666 F.3d at 160. This sensible assumption avoids the historically complicated inquiry into
whether the founding generation would have understood that persons convicted of
domestic violence misdemeanors would no longer possess their right to bear arms as the
result said conviction. On this record, there is no compelling historical evidence that
domestic violence misdemeanants would have lost their right to possess weapons at the

time of the ratification of the Second Amendment.6 Thus, for purposes of the analysis here,

 

4 The core right of the Second Amendment is “the right of law-abiding, responsible citizens to use arms in
defense of health and home.” D.C. v. Heller, 554 U.S. 570, 635 (2008).

5 The Fourth Circuit recognized in United States v. Carter, 669 F.3d 411, 416 (4th Cir. 2012) that it has
avoided the first step analysis on three occasions by assuming without deciding that the individual at issue
had protectable rights under the Second Amendment. See Chester, 628 F.3d at 683; Staten, 666 F.3d at 160;
United States v. Masciandaro, 638 F.3d 45 8, 467 (4th Cir. 2011).

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it is assumed that plaintiff’ s Second Amendment rights remain intact and therefore analysis
properly proceeds to the second step of the Fourth Circuit’s framework for deciding as-
applied constitutional challenges At this step, the government bears the burden of
establishing that Congress’s means, i.e. the categorical prohibition on possession of
firearms by domestic violence misdemeanants, fits the end, i.e. the goal of protecting
individuals from domestic gun violence. Ia'. at 161.

B.

The second step in the Fourth Circuit’s two-step analysis requires the district court
to determine and apply “the appropriate form of means-end scrutiny.” Staten, 666 F.3d at
159. In this respect, the appropriate level of scrutiny is intermediate scrutiny. Id. (“[W]e
held that intermediate scrutiny is the appropriate standard to analyze a challenge to §
922(g)(9) under the Second Amendment.”). Therefore, at step two the government must
show “a reasonable fit between the challenged regulation and a substantial government
objective.” Chester, 628 F.3d at 683.

There is no doubt that the government has an important interest in protecting
individuals from gun violence perpetrated by domestic abusers. In this respect, the Fourth
Circuit has made unmistakably clear that § 922(g)(9) serves a substantial government
objective and that § 922(g)(9) is reasonably tailored in the ordinary case to achieve the

govemment’s important goal of reducing domestic gun violence. In Staten, Judge

 

6 In Stimmel, the Sixth Circuit noted that no historical evidence had been presented “establishing that
individuals Who physically abused their family members or intimate partners were historically restricted
from bearing arms.” 879 F.3d at 205.

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Hamilton, joined by Judges Agee and Wynn, made clear that domestic gun violence is a
serious problem in this country:

[T]he “govemment has established that: (1) domestic violence
is a serious problem in the United States; (2) the rate of
recidivism among domestic violence misdemeanants is
substantial; (3) the use of firearms in connection with domestic
violence is all too common; (4) the use of firearms in
connection with domestic violence increases the risk of injury
or homicide during a domestic violence incident; and (5) the
use of firearms in connection with domestic violence often
leads to injury or homicide.

666 F.3d at 167. Given the seriousness of the problem Congress sought to remedy by
passing § 922(g)(9), the Staten panel concluded that:

These established facts along with logic and common sense
compel us to hold that the government has carried its burden of
establishing a reasonable fit between the substantial
government objective of reducing domestic gun violence and
keeping firearms out of the hands of: (1) persons who have
been convicted of a crime in which the person used or
attempted to use force capable of causing physical pain or
injury to another against a spouse, former spouse, or other
person with whom such person had a domestic relationship
specified in § 921(a)(33)(A); and (2) persons who have
threatened the use of a deadly weapon against such a person.

Ia’.

Although instructive here, the Staten decision left unresolved the precise question
presented by plaintiff in this case, namely whether § 922(g)(9), as applied to an individual
who has been a model citizen for thirty years but for one misdemeanor domestic violence

conviction, impermissibly restricts conduct that falls outside the government’s stated

objective of reducing domestic gun violence. In other words, plaintiff challenges the link

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between a thirty (30) year old misdemeanor conviction for domestic violence and any
present threat plaintiff poses for committing domestic gun violence. Distilled to its
essence, plaintiff contends that § 922(g)(9) is overinclusive as-applied to him.

The Fourth Circuit in Hamz'lton recently responded to a similar argument, noting
that “evidence of rehabilitation, the likelihood of recidivism, and the passage of time” are
insufficient to render an otherwise constitutional felon-in-possession statute
unconstitutional. Hamilton v. Pallozzi, 848 F.3d 614, 629 (4th Cir.), cert. denied, 138 S.
Ct. 500 (2017) (holding that plaintiff in that case, a state-law felon, could not rely on
evidence of rehabilitation and passage of time to demonstrate that he had now become a
law-abiding citizen and was entitled to the core protections of the Second Amendment).
But the Fourth Circuit left open the question whether other sub-sections of § 922(g) might
be subject to as-applied challenges based on similar arguments regarding passage of time
and rehabilitation Id. at 626, fn. 12 (“We expressly do not close these off as being
potentially relevant inquiries in bringing as-applied challenges to other disarrnament laws,
for example, laws disarming the mentally ill such as 18 U.S.C. § 922(g)(4).”).

In this regard, the Fourth Circuit in Hamilton specifically noted the Sixth Circuit’s
recent en banc decision in Tyler v. Hillsdale Czy. Sherijj"s Dep’t, 837 F.3d 678 (6th Cir.
2016) (en banc), Which held that the federal disarrnament provision for the mentally ill,
namely 18 U.S.C. § 922(g)(4), was unconstitutional as-applied to a person who was
involuntarily committed thirty years ago during a brief episode of depression and had
subsequently lived a mentally healthy, law-abiding life. Ia'. Tyler is, at first glance, helpth

to plaintiff; however, upon closer inspection it is clearly distinguishable from this case,

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Tyler involves § 922(g)(4), which precludes individuals who have been adjudicated
“mentally defective” or who have “been committed to a mental institution” from
possessing a firearrn. As noted in Tyler, in the context of voluntary and involuntary mental
health commitments, an individual can present persuasive medical evidence that he or she
has recovered from a mental health defect and is no longer a threat to society. Because an
individual can, on a case-by-case basis, demonstrate that he or she falls outside the intended
reach of § 922(g)(4), the Sixth Circuit considered evidence of rehabilitation and passage of
time. But in the context of § 922(g)(9), such evidence is irrelevant because unlike an
individual with a diagnosed mental health condition, a domestic violence misdemeanant
cannot demonstrate that he or she has been cured or has recovered from engaging in violent
domestic abuse. To the contrary, social science data demonstrates that domestic abusers
recidivate at significant rates and that oftentimes domestic abusers escalate the level of
violence.7 Therefore, the means/end analysis for § 922(g)(4) is different from the
means/end analysis for § 922(g)(9).

The Fourth Circuit has never directly addressed the argument raised by plaintiff in
this case, namely Whether the passage of time combined with demonstrated rehabilitation
invalidates an otherwise constitutional prohibition on the possession of firearms by
misdemeanant domestic abusers. But importantly, several other circuits have addressed

and rejected plaintiffs passage of time argument in the context of § 922(g)(9).8 Especially

 

7 See Exhibits 2, 3, 4 and 5 to Def`.’s Mem. in Opp. to Pl.’s Mot. Sum. J. (Docs. 21-2, 21-3, 21-4 and 21-5).

8 See, e.g., Stimmel v. Sessions, 879 F.3d 198, 210 (6th Cir. 2018) (rejecting plaintiffs constitutional
challenge to § 922(g)(9) in 2018 based on his assertion that “he has lived a law-abiding life without

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instructive in this regard is the Ninth Circuit’s well-reasoned Chovan opinion. 735 F.3d
1127. There, the Ninth Circuit noted that the prohibited person had failed to present any
evidence that a domestic abuser is “highly unlikely” to reoffend with the passage of time
and, therefore given the govemment’s evidence of high rates of recidivism amongst
domestic abusers, “the application of § 922(g)(9) to Chovan [was] substantially related to
the govemment’s important interest of preventing domestic gun violence.”9 Chovan, 735
F.3d at 1142. Nor is Chovan the only case to reach this result; other courts to consider the
issue, including the Sixth Circuit, have followed Chovan’s rationale for upholding §
922(g)(9) in the face of as-applied challenges based on the passage of time.lo These courts
have recognized that although § 922(g)(9) is admittedly broad, Congress “is not limited to
case-by-case exclusions of persons who have been shown to be untrustworthy with
weapons,” and that certain categorical prohibitions are necessary to achieve the
govemment’s significant objective of reducing gun violence in the home. See Skoien, 614
F.3d at 641. Because Congress’s categorical, lifetime ban is reasonably tailored to its

interest of protecting family members from gun violence by domestic abusers, plaintiff

 

additional convictions since 1997”); Fisher v. Kealoha, 355 F.3d 1067, 1071 (9th Cir. 2017) (holding that
the mere fact that plaintiffs harassment conviction was twenty years old did not render § 922(g)(9)
unconstitutional as applied to him); United States v. Chovan, 735 F.3d 1127, 1141-42 (9th Cir. 2013)
(rejecting argument that § 922(g)(9) cannot constitutionally apply to a criminal defendant after fifteen years
without a subsequent conviction).

9 The government in this case, as it did in Chovan, submitted evidence including articles discussing social
science studies that reflect that domestic abusers are likely to recidivate and even escalate their conduct
Unlike the plaintiff in Chovan, the plaintiff here has offered no evidence in support of` his argument that the
passage of time eliminates the risk of domestic gun violence.

'° See supra fn. 6.

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cannot obtain judicial relief for his problem; he may, however, be a candidate for executive
action.ll

In upholding § 922(g)(9)’s lifetime ban, the Sixth and Ninth Circuits have
appropriately recognized that federal courts should not read expiration clauses or good
behavior exceptions into otherwise constitutional regulations when there is no evidence
that passage of time would alleviate the concern addressed by Congress.12 In other words,
where, as here, there is no evidence that passage of time makes domestic abusers less prone
to violence and there is significant evidence that domestic abusers reoffend at significant
rates, Congress can, within its discretion and within the bounds of the Constitution,
preclude domestic abusers from possessing weapons for their lifetimes. Because Congress,
in passing § 922(g)(9), created a regulation that has a reasonable relationship to its desired
objective, i.e. eliminating domestic gun violence, it is improper to create a judicial

exception that has no basis in the text of the statute. Because plaintiffs passage of time

 

11 See infraer 12.

12 In Chovan, the Ninth Circuit notes that plaintiffs as-applied challenge calls for a legislative or policy
judgment rather than a judicial one:

[I]f` Chovan’s as-applied challenge succeeds, a significant exception to §
922(g)(9) would emerge. If Congress had wanted § 922(g)(9) to apply only
to individuals with recent domestic violence convictions, it could have
easily created a limited duration rather than lifetime ban. Or it could have
created a good behavior clause under which individuals without new
domestic violence arrests or charges within a certain number of years of
conviction would automatically regain their rights to possess firearms. But
Congress did not do so. Congress permissibly created a broad statute that
only excepts those individuals with expunged, pardoned, or set aside
convictions and those individuals who have had their civil rights restored.

735 F.3d at 1142.

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argument is a complex policy argument, it is, as the Chovan Court noted, more
appropriately addressed legislativer than judicially. See supra fn. 11.
III.

Absent legislative or executive action, plaintiff is subject to a lifetime firearm ban
because § 922(g)(9) contains no sunset or good behavior clause and the Constitution does
not demand that a misdemeanant domestic abuser be given his rights back simply because
he exists for some time without incident Given the grave importance of the govemment’s
interest in protecting men, women and children who are subject t_o violence in their own
homes and given the evidence of recidivism amongst domestic abusers, § 922(g)(9)’s
lifetime firearm ban on misdemeanant domestic abusers is reasonably tailored to the
govemment’s substantial interest

Accordingly, plaintiffs motion for summary judgment must be denied and the
govemment’s motion must be ¢¢granted.'3

A separate order will follow,

Alexandria_. Virginia
April 16, 2019.

 

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" Althouin plaintiff loses his judicial challenge, not all is lost. Congress has provided four ways for
domestic-violence misdemeanants to regain their right to possess a iirearm:

l) The misdemeanant may have the conviction set aside,

2) The misdemeanant may have the conviction expunged,

3) The misdemeanant may have their civil rights restored or
4) The misdemeanant may seek a pardon

5)

See 18 U.S.C. § 921(a)(33). Thus, ramer than seekingjudicial relief, plaintiff may more appropriately seek
political remedy.

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